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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

DWAYNE GRIFFIN,                   :
     Plaintiff,                   :
                                  :
       v.                         :     Case No. 3:15-cv-1667(RNC)
                                  :
RON LABONTE, ET AL.,              :
     Defendants.                  :

                           RULING AND ORDER

       The third amended complaint alleges that since 2005

plaintiff has been denied surgery to correct a painful knee

condition in violation of the Eighth Amendment.            The four

defendants are Health Services Administrator Ron Labonte,1

Nurse Cynthia L’Huereax, Dr. Ilona Figueroa and Dr. Johnny

Wu.    The defendants have moved to dismiss the third amended

complaint on the ground that the action is barred by the

three-year statute of limitations.          Plaintiff responds that

the continuing violation doctrine applies.           Defendants have

not sustained their burden of establishing that the action

is time-barred, so the motion is denied without prejudice.

       The third amended complaint, generously construed,

alleges the following facts.          In June 2005, plaintiff was

evaluated by an orthopedic specialist for severe knee pain

caused by degenerative changes.          The specialist recommended

surgery to prevent further degeneration.          Administrator

Labonte and Dr. Figueroa denied funding for surgery.               As an


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  The case caption misspells this defendant’s name as “LAPONTE.”   The
Clerk is requested to correct the caption.
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alternative, plaintiff was prescribed a knee brace and

cortisone injections.    He was subsequently transferred to

Corrigan-Radgowski Correctional Center, where he has

repeatedly requested an evaluation by the facility’s doctor.

His requests have been refused by Nurse L’Huereax.         Dr. Wu,

who has succeeded to the position of Health Services

Administrator, continues to deny plaintiff corrective

surgery.

     A claim for damages under § 1983 accrues when the

plaintiff “knows or has reason to know of the injury which

is the basis of his action.”     Hogan v. Fischer, 738 F.3d

509, 518 (2d Cir. 2013).    Plaintiff knew or had reason to

know of the alleged deliberate indifference beginning in

2005.   However, the continuing violation doctrine may

preserve an Eighth Amendment claim of deliberate

indifference when the complaint alleges a series of acts

that together comprise a constitutional violation.         Shomo v.

City of New York, 579 F.3d 176, 181-82 (2d Cir. 2009).         In

order for the doctrine to apply, the complaint must allege

an ongoing policy of deliberate indifference and non-time-

barred acts in the furtherance of that policy.        Id. at 182.

In this case, the third amended complaint may be construed

to allege an ongoing policy of deliberate indifference to

the plaintiff’s need for corrective surgery and a series of


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acts and omissions in furtherance of that policy.

Given the length of time that passed between plaintiff’s

visit to the specialist in 2005 and the date he filed this

suit in 2015, the action may well be time-barred as to some

or all of the defendants.     But defendants have not shown

that the continuing violation doctrine does not apply.

Because it is a defendant’s burden to establish that a claim

is time-barred, the motion to dismiss is denied without

prejudice to renewal.    See Cutting v. Down East Orthopedic

Assocs., P.A., No. 1:16-cv-582-JAW, 2017 WL 4386963, at *11

(D. Me. Sept. 30, 2017) (denying motion to dismiss when

record unclear as to whether continuing violation doctrine

applied); Wong v. Bann-Cor Mortg., 878 F. Supp. 2d 989, 1004

(W.D. Mo. 2012) (concluding that statute of limitations

issue would be better presented on motion for summary

judgment); Schonarth v. Robinson, No. 06-cv-151-JM, 2008 WL

510193, at *7 (D.N.H. Feb. 22, 2008) (deferring decision on

statute of limitations issue until after discovery).

     Accordingly, the motion to dismiss the third amended

complaint is denied without prejudice.

     So ordered this 17th day of January 2018.

                                         /s/
                            Robert N. Chatigny, U.S.D.J.




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